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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                              Chapter 11

    MD Helicopters, Inc., et al.,1                      Case No. 22-10263 (KBO)

             Debtors.                                   (Jointly Administered)

                                                        Objection Deadline: June 24, 2022 at 4:00 p.m. (ET)
                                                        Hearing Date: Only if objection(s) filed


                            NOTICE OF MONTHLY FEE APPLICATION

       PLEASE TAKE NOTICE that on June 3, 2022, Troutman Pepper Hamilton Sanders LLP
(the “Applicant”), as co-counsel to MD Helicopters, Inc., et al., (the “Debtors”) filed the
First Monthly Application of Latham & Watkins LLP for Compensation for Services
Rendered and Reimbursement of Expenses as Co-Counsel to the Debtors for the Period
March 30, 2022 Through April 30, 2022 (the “Application”) with the United States Bankruptcy
Court for the District of Delaware (the “Court”).

        PLEASE TAKE FURTHER NOTICE that in accordance with the Order Establishing
Procedures for Interim Compensation and Reimbursement of Expenses of Professionals [Docket
No. 173] (the “Compensation Procedures Order”) entered by the Court on April 20, 2022, any
objection or other response to the Application must be (i) filed with the Clerk of the United States
Bankruptcy Court for the District of Delaware, 824 North Market Street, 3rd Floor, Wilmington,
Delaware 19801, on or before June 24, 2022 at 4:00 p.m. (Eastern Time) (the “Objection
Deadline”); and (ii) served so as to be actually received no later than the Objection Deadline by
(a) the Applicant and (b) the Notice Parties (as defined and identified in the Compensation
Procedures Order).

        PLEASE TAKE FURTHER NOTICE that if an objection or response to the Application is
filed and is not subsequently resolved, a hearing on the Application will be scheduled at the
convenience of the Court and held before the Honorable Karen B. Owens, United States
Bankruptcy Judge, at the United States Bankruptcy Court for the District of Delaware, 824 North
Market Street, 6th Floor, Courtroom 3, Wilmington, Delaware 19801.




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    The two Debtors in these cases are MD Helicopters, Inc. and Monterrey Aerospace, LLC, and their address is 4555
    E. McDowell Road, Mesa, AZ 85215. The last four digits of MD Helicopters, Inc.’s taxpayer identification number
    are 4088. Monterrey Aerospace, LLC has not been assigned a taxpayer identification number as of the date hereof.



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     PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND TO THE
APPLICATION IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE
RELIEF REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE OR
OPPORTUNITY FOR A HEARING.


Dated: June 3, 2022
       Wilmington, Delaware    /s/ Evelyn J. Meltzer
                               TROUTMAN PEPPER HAMILTON SANDERS LLP

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                               - and -

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                               Counsel for Debtors and Debtors-in-Possession


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